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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KEENAN MCMILLEN, )
)
Plaintiff, )
)
VS. ) Civil Action No. 3:20-cv-192

\ District Judge Stephanie L. Haines

JOHN WETZEL and THE PENNSYLVANIA ) Magistrate Judge Maureen P. Kelly
DEPARTMERNT OF CORRECTIONS, )
)
Defendants. )

MEMORANDUM ORDER

 

This is a civil rights case brought by Plaintiff Keenan McMillen (“Plaintiff”’) relating to his
incarceration at State Correctional Institution at Houtzdale (“SCI- Houtzdale”). In his complaint
(ECF No. 5), Plaintiff alleges prison officials failed to properly treat his substance use disorder, in
violation of the Eighth and Fourteenth Amendments, the Pennsylvania Constitution, and Title II
of the Americans with Disabilities Act ADA”). This matter was referred to Magistrate Judge
Maureen P. Kelly for proceedings in accordance with the Federal Magistrates Act, 28 U.S.C. §
636. and Local Civil Rule 72.D.

On March 12, 2021. Defendants John Wetzel (“Wetzel”) and Pennsylvania Department of
Corrections (“DOC”) (collectively “Defendants”), filed a motion to dismiss Plaintiff s complaint
(ECF No. 20) and a brief in support of that motion (ECF No. 21). Plaintiff filed a response (ECF
No. 25) to the motion to dismiss. on March 30, 2021. On April 12, 2021, Defendants filed a reply
(ECF No. 29) to Plaintiff's response, and Plaintiff filed a response to that reply on April 27, 2021

(ECE No. 32).

On September 22, 2021, Magistrate Judge Kelly issued a Report and Recommendation

(ECF No. 35) recommending that Defendants’ motion to dismiss (ECF No. 20) be granted in part

 

 

 

 
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and denied in part. Specifically, Magistrate Judge Kelly recommended Defendants’ motion to
dismiss should be granted as to Plaintiffs Eighth and Fourteenth Amendment claims against
Defendant DOC, and those claims should be dismissed with prejudice. Magistrate J udge Kelly
recommended the motion to dismiss should otherwise be denied. The parties were advised
objections to the Report and Recommendation (ECF No. 35) were due on October 6, 2021 for
registered ECF users and on October 11, 2021. for unregistered ECF users. No party filed
objections, and the time to do so has passed,

Upon review of the Report and Recommendation (ECF No. 35) and all documents of record
under the applicable “reasoned consideration” standard, see EEOC F. City of Long Branch, 866
F.3d 93, 100 (3d Cir. 2017) (standard of review when no timely and specific objections are filed),
and pursuant to Local Civil Rule 72.D.2, the Court will accept in whole the findings and
recommendations of Magistrate Judge Kelly as the Opinion of this Court. Magistrate Judge Kelly
correctly determined Plaintiff cannot maintain his Eighth and Fourteenth Amendment claims under
Section 1983 against Defendant DOC, and it would be futile to permit Plaintiff to amend those
claims. Magistrate Judge Kelly also correctly determined Defendants’ motion to dismiss (ECF
No. 20) should be denied as to Plaintiff's Section 1983 claims against Defendant Wetzel in his
official capacity and Plaintiff's Pennsylvania Constitution and ADA claims against Defendants
Wetzel and DOC.

Accordingly, the following order is entered:

ORDER OF COURT

AND NOW, this 2° day of November, 2021, IT IS ORDERED that Magistrate Judge

Kelly’s Report and Recommendation (ECF No. 35) is hereby adopted as the Opinion of the Court;

and,

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IT IS FURTHER ORDERED that Defendants’ motion to dismiss (ECF No. 20) is
GRANTED in part and DENIED in part. Defendants’ motion to dismiss Plaintiff's Eighth
Amendment and Fourteenth Amendment claims against Defendant Pennsylvania Department of
Corrections is GRANTED and said claims are hereby DISMISSED WITH PREJUDICE.

Defendants’ motion.to dismiss (ECF No. 20) is DENIED in all other respects.

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- Stephanie L. Hainés
United States District Judge

    

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